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9                                        UNITED STATES DISTRICT COURT
10                                      NORTHERN DISTRICT OF CALIFORNIA
11                                          SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                      )     No.: CR 06-0181 VRW
                                                    )
13            Plaintiff,                            )
                                                    )     STIPULATION AND [PROPOSED]
14            v.                                    )     ORDER EXCLUDING TIME UNDER
                                                    )     THE SPEEDY TRIAL ACT
15   JOSE JESUS QUINONES,                           )
                                                    )
16            Defendant.                            )
                                                    )
17
18            On Tuesday, August 15, 2006, the parties appeared before the Court for a status hearing
19   or guilty pleas by the dedendant Quinones. The United States was represented by Assistant
20   United States Attorney Dennis Michael Nerney. Defendant Jose Quinones was represented at the
21   proceeding by Daniel Blank of the Office of the Federal Public Defender. At that time, the
22   defendant Quinones entered open pleas of guilty to Counts Four and Five of the indictment. The
23   Court set the case on its calendar for judgment and sentence on Tuesday, November 14, 2006.
24            During the proceeding, the Defendant Quinones and the government jointly requested a
25   continuance of the case to Tuesday, October 17, 2006 at 10:30 a.m for a further status hearing
26   concerning possible resolution of Counts One and Three of the indictment. The parties agreed
27   that for such reason, counsel for the defendant would require a reasonable amount of time to
28   confer with his client and government counsel would also need time to consult with his superiors


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1    in order to resolve the rest of the case.
2             The parties jointly requested that the time period from August 15, 2006 through and
3    including October 17, 2006 be excluded from the calculation of time under the Speedy Trial Act.
4    The defendant, through his counsel, consented to this exclusion of time.
5             Specifically, the parties moved to have the time from August 15, 2006 through and
6    including October 17, 2006 excluded from the time limits set forth in the Speedy Trial Act, 18
7    U.S.C. § 3161, on the ground that failure to exclude the time would unreasonably deny counsel
8    for the defendants the reasonable time necessary for effective preparation of counsel, taking into
9    account the exercise of due diligence. 18 U.S.C. § 3161(h)(8)(B)(iv). The parties also agreed
10   that the case was complex within the meaning of Title, 18, U.S.C. § 3161(h)(8)(B)(ii) because of
11   the nature of the prosecution, and for that reason time should also be excluded under the Speedy
12   Trial Act to permit defense counsel to review the voluminous wiretap discovery in the case. In
13   addition, the ends of justice would be served by the Court excluding the proposed time period;
14   these ends outweigh the best interest of the public and the defendants in a speedy trial. 18 U.S.C.
15   §§ 3161(h)(8)(A), (B)(iv).
16            With the consent of the parties, the period from August 15. 2006 through and including
17   October 17, 2006 shall be excluded from the Speedy Trial Act calculation under 18 U.S.C.
18   § 3161(h)(8)(A), (B)(ii),and (B)(iv).
19       SO STIPULATED.
20   DATED: August 25 , 2006                        /S/ Daniel Blank
                                                   DANIEL BLANK
21                                                 Counsel for Jose Jesus Quinones
22
23   DATED: August 25, 2006                         /S/ Dennis Michael Nerney
                                                   DENNIS MICHAEL NERNEY
24                                                 Assistant United States Attorney
25   PURSUANT TO STIPULATION, IT IS SO ORDERED.
26
27   DATED: 9/1/2006                               ____________________________________
                                                   VAUGHN R. WALKER
28                                                 UNITED STATES DISTRICT JUDGE


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